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10
11                        UNITED STATES DISTRICT COURT
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,       ) No. CR 06-809-R
                                     )
14              Plaintiff,           ) GOVERNMENT'S SENTENCING POSITION
                                     ) PAPER
15                 v.                )
                                     ) Sentencing Date: 4/30/07
16   WILLIAM WINE,                   ) Sentencing Time: 1:30 p.m.
                                     )
17              Defendant.           ) Courtroom of the Honorable
                                     ) Manuel Real
18                                   )
19
20        This is the government's sentencing position paper.            As
21   discussed in greater detail below, the government (1) concurs
22   with the Sentencing Guidelines calculations contained in the
23   Probation Office's Presentence Report ("PSR"), (2) submits that a
24   30-month sentence (the low-end of the applicable Guidelines
25   range) is warranted and appropriate under 18 U.S.C. § 3553(a),
26   and (3) requests that restitution be adjusted to account for one
27   additional victim of defendant.
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 1   I.      SENTENCING GUIDELINES
 2           The PSR calculates that (a) defendant's base offense level
 3   is six, (b) fourteen levels should be added based on the loss
 4   amount (between $400,000 and $1,000,000), (c) two additional
 5   levels should be added for "abuse of trust" (USSG §3B1.3), and
 6   (d) three levels should be substracted for acceptance of
 7   responsibility (USSG §3E1.1), resulting in a total offense level
 8   of nineteen.       Given defendant's criminal history category of I,
 9   defendant's range under the advisory Sentencing Guidelines is 30
10   to 37 months imprisonment.         The government concurs with the
11   Probation Office's calculation of defendant's advisory Guidelines
12   range.
13   II.     3553(a) FACTORS AND ANALYSIS
14           Under United States v. Booker, 125 S. Ct. 738 (2005), this
15   court must consider not only the Guidelines range, but also the
16   sentencing factors set forth in 18 U.S.C. § 3553(a).              See id. at
17   767.
18           There can be no dispute as to the seriousness of defendant's
19   offense.      The elderly victim in this case, Harry Dean Stanton,
20   entrusted defendant with managing all of his financial affairs,
21   and defendant abused that trust by stealing a substantial sum of
22   money from Mr. Stanton's retirement and personal savings
23   accounts, and using those funds to pay defendant's own personal
24   expenses.      Defendant also facilitated the theft of substantial
25   sums of Mr. Stanton's money by Mr. Stanton's personal assistant.
26   To reflect the serious nature and circumstances of this offense,
27   to promote respect for the law, to provide just punishment, and
28   to deter others from committing similar offenses, a substantial

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 1   sentence of imprisonment is warranted in this case.
 2         In mitigation, defendant does not have a criminal history.
 3   (Although he has failed to pay to his taxes for several years,
 4   that failure may be related to the financial problems that led
 5   him to his criminal conduct in the present case.)          In addition,
 6   from the beginning of the government's investigation, defendant
 7   has cooperated with the investigation, accepted full
 8   responsibility for his criminal conduct in stealing money from
 9   Mr. Stanton, and repeatedly expressed a desire to do what he can
10   to pay Mr. Stanton back.      The government believes it unlikely
11   that, after having served a substantial prison term, defendant
12   will commit any future crimes.
13         After having weighed the various Section 3553(a) factors,
14   the government submits that a sentence of 30 months imprisonment
15   is warranted and sufficient to satisfy the sentencing goals set
16   forth in Section 3553(a).
17   II.   RESTITUTION
18         In their plea agreement, the government and defendant stated
19   that, as of the time of their agreement, they believed the
20   applicable amount of restitution was $961,356.          Based on what the
21   government now knows, the government believes that figure should
22   be adjusted in two respects.       First, as indicated in the PSR,
23   defendant has paid Mr. Stanton $25,000 as partial compensation
24   for the money that defendant stole from him, and thus defendant's
25   remaining restitution obligation should be reduced to $936,356.
26   (PSR ¶ 17).   Second, the government requests that defendant be
27   ordered to pay an additional $50,000 in restitution to a second
28   victim of his, Tracy Torme.      Mr. Torme is a former client of

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 1   defendant from whom defendant stole $50,000 in February 2005, by
 2   issuing a check to himself from Mr. Torme's bank account without
 3   Mr. Torme's knowledge or authorization.         A copy of this check is
 4   attached hereto as Exhibit A.       Although the government does not
 5   believe Mr. Torme's losses constitute relevant conduct in this
 6   case, the government believes that this court can and should
 7   include Mr. Torme's $50,000 loss in its restitution judgment.
 8   Once this $50,000 is included, the total amount of restitution
 9   that should be ordered is $986,356.
10   Dated: April 15, 2007              Respectfully submitted,
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